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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  IN RE: ASBESTOS LITIGATION                     :
                                                 :
  KENT E. MOSHER and CATHY MOSHER,               :   C.A. No.: 1:18-cv-00410-LPS-SRF
  his wife,                                      :
                                                 :
        Plaintiffs                               :
                                                 :
        v.                                       :
                                                 :
  ABB, INC., ET AL.;                             :   TRIAL BY JURY DEMANDED
                                                 :
        Defendants.                              :

       REPLY BRIEF IN SUPPORT OF DEFENDANT AIR & LIQUID SYSTEMS
     CORPORATION, AS SUCCESSOR BY MERGER TO BUFFALO PUMPS, INC.’S
                    MOTION FOR SUMMARY JUDGMENT




                                      WILBRAHAM, LAWLER & BUBA

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                                      as successor by merger to Buffalo Pumps, Inc.


  Dated: September 4, 2019
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                                           INTRODUCTION

            Defendant Air & Liquid Systems Corporation as successor by merger to Buffalo Pumps,

  Inc. (“Buffalo”) respectfully submits this Reply to Plaintiffs’ Answering Brief in Opposition to

  Buffalo’s Motion for Summary Judgment.

            Buffalo filed this Motion based on Plaintiffs’ failure to provide evidence that Mr. Mosher

  was exposed to asbestos-containing products for which Buffalo is liable. In fact, Mr. Mosher

  limited his activity with the single Buffalo fire pump at issue to simply turning its electric motor

  on and off, which did not require opening the pump at all. He never saw anyone else perform work

  on the Buffalo pump. Thus, at no time during his testimony did he identify any products Buffalo

  may be liable for as a source of his alleged asbestos exposure.

            In opposition, Plaintiffs rely upon speculative arguments, citations to general pump

  testimony in an attempt to expand Mr. Mosher’s limited Buffalo pump testimony, and improper

  extrapolations of documents that are both temporally and substantively irrelevant.           In fact,

  Plaintiffs’ Answering Brief inescapably acknowledges that these documents pertain to entirely

  different types of Buffalo pumps than the single fire pump Mr. Mosher identified. Regardless,

  Plaintiffs persist in attempting to muddy the clear evidentiary record with these documents in hope

  of manufacturing apparent factual issues of asbestos exposure where none exist.

            Plaintiffs acknowledge that the Buffalo product at issue is a single fire pump Mr. Mosher

  identified on the USS Truett where he served in the U.S. Navy from 1974 to 1977 as a Boiler

  Technician.1 Plaintiffs claim Mr. Mosher boarded the Truett as early as 1973, but Plaintiffs’ cited

  testimony for that statement clearly states that is the date he entered the Navy and he did not board




  1
      Plaintiffs’ Opp. pp. 1-2, fn. 1.
                                                    1
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  the Truett until 1974.2 Regardless, this is not a material fact in the case given Mr. Mosher’s very

  limited interaction with or around the single Buffalo fire pump.

         Critically, Plaintiffs cite to Mr. Mosher’s testimony specific to the Buffalo fire pump at

  issue purposes of establishing mere identification of the Buffalo pump aboard the Truett, but fail

  to address Buffalo’s Opening Brief Statement of Facts detailing Mr. Mosher’s subsequent

  admissions in that same testimony that he “can’t remember” if the Buffalo pump used mechanical

  seals or packing as a sealant material and “I don’t remember much about the fire pump.”3 Plaintiffs

  also ignore Mr. Mosher’s admissions cited in Buffalo’s Opening Brief that, he did not repack the

  Buffalo fire pump4 and, in fact, he limited his activity with the Buffalo pump to simply turning its

  electric motor on and off, which did not requiring opening the pump at all.5 Finally, Mr. Mosher

  never saw anyone else perform work on the Buffalo pump.6 Hence, Plaintiffs’ evasion of Mr.

  Mosher’s complete Buffalo fire pump testimony serves as a tacit admission that the testimony

  arguably serves to establish mere product identification, but fails to establish a basis for exposure

  and causation.

         Because Mr. Mosher testified to very limited interaction with the Buffalo fire pump at issue

  so unambiguously, Plaintiffs’ Answering Brief completely ignores that testimony and, instead,

  pivots to making speculative arguments supported by citations to Mr. Mosher’s general testimony

  about maintenance of pumps manufactured by 5 different companies, which was comprised of

  preventative pump maintenance including 60-70 separate tasks such as changing the zincs on the




  2
    Id.
  3
    Buffalo’s Opening Br. Ex. B, p. 244:1-11.
  4
    Id. p. 244:12-17.
  5
    Id. p. 244:18-19; 244:22-245:1; 245:5-9.
  6
    Id. p. 244:20-21.
                                                   2
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  cooling system, checking the oil, and refurbishing the oil.7 This general testimony was provided

  in response to Plaintiffs’ own attorney’s questions during the trial video testimony that preceded

  his Buffalo-pump specific cross-examination during the subsequent defense discovery deposition.

  Thus, Plaintiffs’ Answering Brief inappropriately relies upon their attempt to re-write Mr.

  Mosher’s limited Buffalo fire pump testimony with his general pump testimony associated with

  unrelated pump manufacturers.

           Notwithstanding Mr. Mosher’s testimony limiting the extent of work allegedly performed

  on the Buffalo fire pump by him or in his presence, Plaintiffs proceed to take the Court on a

  circuitous route of speculative arguments supported by irrelevant documents and his general pump

  testimony. When Mr. Mosher’s testimony specific to Buffalo and general pump testimony is read

  as a whole, there remain no issues of fact for a jury to decide, nor is there a basis for a reasonable

  jury to find in Plaintiffs’ favor against Buffalo.

           Plaintiffs’ DeVries arguments put the cart before the horse and lack a critical factual

  prerequisite in applying DeVries—Mr. Mosher’s exposure to asbestos-containing materials

  removed from or installed in the Buffalo pumps at issue. Here, Mr. Mosher’s admission that his

  only interaction with the Buffalo fire pump consisted of turning the motor on and off (that did not

  require opening the pump) establishes the irrelevancy of Plaintiffs’ citations to testimony about

  gaskets, packing, and insulation that may have been the source of asbestos exposure from any of

  the other 4 brands of pumps identified as maintained on the Truett. As a result, Plaintiffs’

  opposition confirms that, on the record evidence, summary judgment in favor of Buffalo is

  warranted.




  7
      Buffalo’s Opening Br. Ex. Ex. B p. 148:22-149:15; Buffalo’s Opening Br. Ex. A, p. 20:19-22.
                                                       3
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         Plaintiffs have not identified asbestos-containing products Mr. Mosher was exposed to for

  which Buffalo may be liable, nor have they established Buffalo’s liability for such asbestos-

  containing component parts manufactured by and supplied by other companies. Finally, because

  Plaintiffs have not established this prima facie case of asbestos exposure, Plaintiffs have not (and

  cannot) establish how the evidence of record supports an issue of material fact as to the Maritime

  law “substantial causation” standard. As a result, they cannot meet their burden to support a

  contention that any alleged exposure from an asbestos-containing product for which Buffalo is

  liable was a substantial contributing factor in causing his alleged mesothelioma.

         Accordingly, summary judgment in favor of Buffalo is warranted.

                                            ARGUMENT

        a. Plaintiffs’ Attempt to Re-Write Mr. Mosher’s Limited Buffalo Pump Testimony
           with General Pump Testimony

        Plaintiffs’ opposition Statement of Facts evades key testimony cited in Buffalo’s Opening

  Brief that establishes the following as undisputed facts as to the single Buffalo fire pump at issue

  for purposes of this motion:

  •   Mr. Mosher testified that the Buffalo fire pump supplied seawater for the fire suppression

      system aboard the Truett and there was no reason to heat the water.8

  •   He “can’t remember” if the Buffalo pump used mechanical seals or packing as a sealant

      material and admitted, “I don’t remember much about the fire pump.”9

  •   He testified that he did not repack the Buffalo fire pump.10




  8
    Buffalo’s Opening Br. Ex. B, p. 243:7-25.
  9
    Id. p. 244:1-11.
  10
     Id. p. 244:12-17.
                                                   4
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  •    He limited his activity with the Buffalo pump to simply turning its electric motor on and off,

       which did not require opening the pump at all.11

  •    He never saw anyone else perform work on the Buffalo fire pump.12

  •    He admits he has no training in the identification of asbestos-containing products.13

  Plaintiffs’ opposition ignores these undisputed facts and attempts to build a prima facie case with

  citations to Mr. Mosher’s general pump testimony (supra.) regarding gaskets, packing, and

  insulation associated with a multitude of preventive maintenance tasks encompassing 5 pump

  manufacturer brands. However, Mr. Mosher unambiguously limited his activity with the Buffalo

  pump to simply turning its electric motor on and off and he never saw anyone else perform work

  on the Buffalo fire pump.

          Thus, there is no issue of fact as to work performed on the Buffalo fire pump by Mr. Mosher

  or in his presence that utilized any asbestos-containing replacement component parts in any

  discernible frequency and regularity as required by Maritime law. Because the record in this case

  fails to support any potential attribution of liability to Buffalo, Buffalo is entitled to summary

  judgment in its favor.

         b. Plaintiffs’ Improper Extrapolation of Buffalo’s Prior Discovery Responses

          Plaintiffs cite to Buffalo’s 2005 responses to New York master asbestos discovery as

  support for the generalization that Buffalo sold asbestos-containing pumps from 1955 to 1985.14

  However, Plaintiffs misstate these limited statements to appear as Buffalo’s admission that all

  Buffalo pumps sold during that time contained asbestos.




  11
     Id. p. 244:18-19; 244:22-245:1; 245:5-9.
  12
     Id. p. 244:20-21.
  13
     Id. p. 18:19-23.
  14
     See Plaintiff’s Opp. p. 3 citing Plaintiffs’ Opp. Ex. C.
                                                    5
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         In fact, the response cited by Plaintiffs states that some Buffalo pumps were supplied at the

  time of their original delivery with packing or gaskets, and that during some periods of time some

  of the packing or gaskets contained asbestos.15 Plaintiffs offer nothing in this case to establish that

  the single Buffalo fire pumps Mr. Mosher identified was originally supplied with gaskets or

  packing and, if it was, if it contained asbestos. Regardless, there is no evidence of record that Mr.

  Mosher encountered gaskets or packing originally supplied with the Buffalo fire pump at issue. In

  fact, Mr. Mosher’s testimony specific to the Buffalo fire pump did not involve packing or gasket

  removal anyway—simply turning the motor on and off. Plaintiffs cannot meet their burden by

  simply showing a Buffalo pump might have contained asbestos.16 The critical exposure element

  to asbestos in the pump is clearly lacking here.

        c. Plaintiffs’ Unauthenticated Buffalo Documents Are Irrelevant

         Plaintiffs’ sub-heading on p. 3 indicates they will present evidence of Buffalo’s asbestos

  containing products and their presence aboard the Truett; however, the series of documents

  Plaintiffs rely upon are completely irrelevant and offer nothing regarding asbestos allegedly

  associated with the Buffalo fire pump and ship at issue.

         Plaintiffs cite to unauthenticated correspondence between the Department of the Navy and

  Buffalo for the apparent purpose of showing that Buffalo did supply fire pumps to the Navy with

  replacement parts.17 Again, the mere presence of a Buffalo fire pump on the Truett is arguably

  established in Mr. Mosher’s cross-examination and does not establish requisite exposure. The



  15
     Plaintiffs’ Opp. Ex. C, response No. 6.
  16
     See Thurmon v. Ga. Pac., LLC, 2012 U.S. Dist. LEXIS 150895 (Defendant CBS, as successor to
  Westinghouse, granted summary judgment where there was record evidence that it manufactured
  asbestos and non-asbestos products at the same time and plaintiff failed to present any evidence
  that he worked with the asbestos-containing versions).
  17
     Plaintiffs’ Opp. p. 4 citing Plaintiffs’ Opp. Ex. D.

                                                     6
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   cited letter is otherwise useless for establishing Plaintiffs’ prima facie case. That is because the

   letter discusses shipment of monel bare metal impeller lock nuts to replace brass nuts that were

   being attacked by sea water erosion of the metal. There is no indication in the letter that Buffalo

   supplied asbestos-containing replacement parts for the fire pumps on the Truett at issue. If

   anything, this letter is helpful to Buffalo’s defense because it corroborates Mr. Mosher’s testimony

   that ambient temperature sea water flowed through the fire pump on the Truett and there was no

   reason to heat the pump. Lastly, this document is irrelevant because the letter is dated July 30,

   1943 (30 years before Mr. Mosher enlisted in the Navy) and references US destroyer DD445 class

   ships. The Truett was an entirely different type of ship classification—destroyer (DE-1096) escort

   and later a fast frigate (FF-1095).18

          Plaintiffs next cite to unauthenticated, purported excerpts from a Buffalo distiller pump

   equipment manual while also acknowledging that the distiller pump is an entirely irrelevant,

   different type of pump than the fire pump at issue on the Truett.19 This document is dated

   November 1968 (5 years before Mr. Mosher enlisted in the Navy). The distiller pump manual

   references to removal of component parts are a moot point in light of Mr. Mosher’s admission that

   he never had to open the Buffalo fire pump on the Truett, nor saw anyone else work on the pump.

          Plaintiffs follow with citation to unauthenticated, purported excerpts from a Buffalo

   Centrifugal Pump Application Manual.20 Again, Plaintiffs acknowledge that this document

   references an entirely irrelevant, different type of pump than the fire pump at issue on the Truett.21

   This document is dated 1959 (14 years prior to Mr. Mosher’s enlistment in the Navy).




   18
      Discovery Deposition of Kent Mosher, p. 81:8-11 (Ex. R-1).
   19
      Plaintiffs’ Opp. p. 4 citing to Plaintiffs’ Opp. Ex. E.
   20
      Plaintiffs’ Opp. p. 5 citing Plaintiffs’ Opp. Ex. F.
   21
      Id.
                                                     7
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   Furthermore, Plaintiffs primarily rely upon this document for its references to packing material—

   despite Mr. Mosher’s testimony that he “can’t remember” if the Buffalo fire pump on the Truett

   used mechanical seals or packing as a sealant material22 and his admission that he did not repack

   that Buffalo fire pump.23 Thus, this document is also completely irrelevant to this case.

          Lastly, Plaintiffs inexplicably cite to two (2) unauthenticated, irrelevant documents. The

   first was published by the U.S. Naval Institute in 1941—11 years before Mr. Mosher was born.24

   Plaintiffs claim this document “furthers the notion that the pumps contained in the boilers on Navy

   ships had asbestos in them.”25 This document is completely irrelevant in light of Mr. Mosher’s

   unambiguous testimony that he simply turned the pump motor on and off, never opened the Buffalo

   fire pump at issue, and never saw anyone else work on it. Additionally, Mr. Mosher never testified

   that the Buffalo fire pump was “contained in the boiler” on the Truett. Lastly, general attempts to

   “further[] the notion” of asbestos content of unrelated Naval pumps in 1941 do not rise to the level

   of requisite evidence of sufficient “frequency, proximity, and regularity” of exposure to support a

   conclusion that the Buffalo fire pump identified on the Truett was a “substantial factor” in bringing

   about Mr. Mosher’s alleged injuries, as required under Maritime law.

          Plaintiffs close their specious product identification argument in citing to an irrelevant,

   unauthenticated, purported Bureau of Ships Manual.26 Plaintiffs acknowledge that this document

   is also not published by Buffalo, but the United States Navy Department instead. The document

   is dated 1954—when Mr. Mosher was 2 years old.27 Plaintiffs ineffectively proffer this document




   22
      Buffalo’s Opening Br. Ex. B p. 244:1-11.
   23
      Id. p. 244:12-17.
   24
      Discovery Deposition of Kent Mosher, p. 17:7-9 (Ex. R-1).
   25
      Plaintiffs’ Opp. p. 6 citing to Plaintiffs’ Opp. Ex. G.
   26
      Plaintiffs’ Opp. p. 6 citing to Plaintiffs’ Opp. Ex. H.
   27
      Discovery Deposition of Kent Mosher, p. 17:7-9 (Ex. R-1).
                                                    8
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   for purposes of establishing his exposure to asbestos-containing flange gaskets.        First, Mr.

   Mosher’s testimony specific to the identified Buffalo fire pump is limited to turning the motor on

   and off. Second, he testified that there was no reason to heat the seawater that flowed through the

   fire pump. Setting aside the temporal and product-specific irrelevance of Plaintiffs’ Ex. H, this

   document states that rubber material was used for cold water pump gaskets and only the steam end

   and hot water pumps utilized asbestos packing for certain bonnet gaskets. Hence, this Bureau of

   Ships Manual, combined with Plaintiffs’ testimony, suggests that any gaskets in the fire pump

   were rubber and not asbestos.

          In sum, none of the documents proffered by Plaintiffs pertain to the Buffalo fire pump at

   issue, the Truett ship at issue, the timeframe Mr. Mosher served on the Truett, or any sources of

   asbestos exposure consistent with Mr. Mosher’s testimony regarding the single Buffalo fire pump

   he identified. Judge Robreno addressed similar evidence, despite supporting deposition testimony,

   in several opinions granting Buffalo’s motions for summary judgment, rejecting plaintiffs’

   attempted reliance on documents, discovery responses, and testimony that fail to show the actual

   alleged asbestos-containing products at issue were manufactured or supplied by Buffalo.28

   Similarly, Plaintiffs’ attempted roundabout route in this case to establish nexus of asbestos-

   containing products for which Buffalo may liable through use of unauthenticated documents lacks

   the requisite proof to support a prima facie case against Buffalo.

         Here, Plaintiff’s undisputed admissions in this case are that he only turned the Buffalo fire

   pump motor on and off, he did not open the pump, and never observed anyone else working on the

   pump. No reasonable jury could find in Plaintiffs’ favor on such a limited record.

         d. Plaintiffs’ Improper Attempt to Shift the Burden of Proof


   28
     See Delatte v. A.W. Chesterton, No. 2:09-69578 (E.D. Pa. Feb. 28, 2011) (Order) (Buffalo’s
   Opening Brief Ex. B); see also Conner v. Alfa Laval, Inc., 799 F. Supp. 2d 455 (E.D. Pa. 2011).
                                                    9
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          Plaintiffs claim they do not have the burden at the summary judgment stage to provide

   evidence of asbestos in Buffalo’s products.29 Given the complete lack of evidence of exposure to

   any product Buffalo may be liable for, this is a moot point. Regardless, Plaintiffs’ reliance upon

   In re: Asbestos Litig. (Harding) to support the burden shift they suggest is completely misplaced.

   As is clear from Plaintiffs’ citation and the Connecticut opinion cited to, the Harding passage they

   refer to specifically relied upon Connecticut statutory interpretation and Connecticut case law.

   Maritime law applies to Plaintiffs’ claims in this case against Buffalo and Plaintiffs offer no

   comparable Maritime legal authority to support this burden-shifting argument in the Maritime

   context.30 Additionally, this Honorable Court in Harding denied that summary judgment motion

   at issue because the Defendant did not file a reply to Plaintiffs’ opposition.31 As a result, the Court

   concluded that unresolved issues of fact remained.32

          In this case, it is obvious that Plaintiffs’ attempts to shift the burden driven by their lack of

   requisite evidence to establish that Mr. Mosher was exposed to any asbestos-containing products

   for which Buffalo may be liable.

          e.   Plaintiffs’ Reliance Upon DeVries is Misplaced

          Buffalo’s Opening Brief addressed that this Court has held that the bare metal defense

   analysis at issue in DeVries is not at issue in a factual scenario such as that presented in this case

   because the Maritime Defendant (Buffalo) is “challenging at the outset the plaintiff’s ability to

   identify defendants’ products and show substantial factor causation under Lindstrom, i.e. lack of



   29
      Plaintiffs’ Opp. p. 8 citing In re: Asbestos Litig. (Harding), D. Del. Civ. No. 17-251-MN-SRF
   (D. Del. Jan. 22, 2019) (citing Rutan v. Wayne Combustion Sys., 2011 WL 7049490, at *2 (Conn.
   Super. Ct. Dec. 28, 2011) (emphasis omitted)).
   30
      D.I. 102.
   31
      Harding at *16-17.
   32
      Harding at *16-17.
                                                     10
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   sufficient product exposure and no nexus as to causation of injuries.”    33
                                                                                  Plaintiffs’ Answering

   Brief acknowledges Buffalo’s citation to this point in Rogers, but Plaintiffs miss the main point of

   Rogers. Plaintiffs view Rogers as addressing a product identification deficiency when, in fact, the

   crux of Rogers is that Plaintiffs must establish a prima facie of substantial factor causation under

   Lindstrom that includes sufficient product exposure and causation of injuries before the bare metal

   defense analysis at issue in DeVries is at issue.

          Instead, Plaintiffs argue that their proofs in this case are distinguishable from Rogers in

   that Mr. Mosher identified the Buffalo fire pump in better detail than Mr. Rogers, including the

   manufacturer name, and how the pump functioned.34 This Buffalo-specific testimony is all related

   to superficial bare metal product identification and does nothing to satisfy the Lindstrom standard

   requiring sufficient product exposure and causation of injuries. That is because Plaintiffs have no

   Buffalo-specific testimony in this case to satisfy Lindstrom. Mr. Mosher testified that he never

   opened the Buffalo fire pump, never re-packed it, and never saw anyone else work on it—he simply

   turned the motor on and off.

          Plaintiffs then alternatively attempt to satisfy the complete lack of asbestos-containing

   product identification, sufficient exposure, and causation by citing to a report from their hired

   medical doctor, Ginsburg.35 However, Dr. Ginsburg’s report is much more generalized than the

   summation provided by Plaintiffs’ in their Answering Brief. Dr. Ginsburg simply opines that each

   product for which asbestos exposure can be shown was a cause of Mr. Mosher’s mesothelioma

   and that these cumulative exposures were a substantial contributing factor in the development of




   33
      Rogers v. Air & Liquid Systems, Corp., et al., No. 17-1570-MN-SRF Order p. 9-10 (D. Del. May
   15, 2019) (Buffalo’s Opening Br. Ex. F).
   34
      Plaintiffs’ Opp. p. 12.
   35
      Plaintiffs’ Opp. p. 12 citing to Plaintiffs’ Opp. Ex. K.
                                                       11
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   Mr. Mosher’s mesothelioma.36 However, Dr. Ginsburg never defines through his expertise what

   each “product for which asbestos exposure can be shown” is.            Instead, he simply provides a

   narrative summary of Mr. Mosher’s trial video testimony taken by his attorney in response to many

   leading questions.37 Nothing in Dr. Ginsburg’s narrative summary mentions Buffalo pumps or

   that simply turning the motor of the Buffalo fire pump at issue on and off was a potential source

   of asbestos exposure.

             Thus, Dr. Ginsburg’s causation opinion fails to demonstrate sufficient “frequency,

   proximity, and regularity” to support a conclusion that Mr. Mosher’s limited interaction with the

   Buffalo fire pump was a “substantial factor” in bringing about his alleged injuries, as required

   under Maritime law. As a result of Plaintiffs’ failure to identify Buffalo’s products and show

   substantial factor causation under Lindstrom, i.e. lack of sufficient product exposure and no nexus

   as to causation of injuries, the bare metal defense analysis at issue in DeVries is not at issue in this

   case.

            e. Plaintiffs’ References to Buffalo’s Use of Asbestos in Component Parts is
               Insufficient Proof of Willful and Wanton Conduct

             In a case such as this where there is no evidence that Mr. Mosher was exposed to asbestos

   for which Buffalo is liable at all, nor with the requisite sufficiency to satisfy Lindstrom, Plaintiffs

   have no basis of exposure upon which to rest a willful and wanton conduct claim. Plaintiffs’ only

   proffered evidence of Buffalo’s willful and wanton conduct with regards to Mr. Mosher consists

   of unauthenticated documentation regarding how Buffalo addressed the use of asbestos-containing

   component parts obtained from their component part manufacturers in the mid-1980s.; however,

   Mr. Mosher was discharged from the Navy and ceased working on or around the Buffalo fire pump



   36
        Plaintiffs’ Opp. Ex. K p. 8-9.
   37
        Id. p. 4-5.
                                                     12
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   at issue in 1977.38 Plaintiffs suggest that these documents establish “many manufacturers” had

   ceased using asbestos-containing component parts by this time, but Plaintiffs’ argument fails to

   note that Buffalo was not the manufacturer of the component parts at issue, as noted in Plaintiffs’

   exhibit. Instead, Buffalo acted as an intermediary in this transaction and could only transition to

   non-asbestos component parts when the component part manufacturers had suitable alternatives.

   Further, Plaintiffs offer no proof that the component parts addressed in their Exhibit J are 1) at

   issue in this case and 2) asbestos-containing products to which Mr. Mosher was actually exposed.

   Finally, Plaintiffs’ Exhibit J actually shows Buffalo’s diligence in transitioning from asbestos-

   containing component parts and that the transition was delayed awaiting U.S. Navy consent—for

   which Buffalo contacted the Navy multiple times.

             Plaintiffs’ Answering Brief Ex. I addresses studies regarding the dangers of asbestos-

   containing insulation products used by heavily exposed pipe coverers, asbestos workers, and

   insulators.39 Nothing in Mr. Mosher’s Buffalo pump-specific testimony suggests exposure akin to

   that at issue in thermal insulation products addressed in Plaintiff’s Ex. I. Hence, this exhibit is

   irrelevant to this case and fails to instead address the dangers of encapsulated asbestos fibers

   contained in packing and gaskets purportedly addressed by Buffalo in Plaintiffs’ Exhibit J.

             Thus, nothing in these documents is temporally relevant to the time Mr. Mosher served on

   the Truett where the Buffalo pump was located. More importantly, nothing in Exhibit J shows

   malicious, wanton, reckless, or gross negligent actions by Buffalo that caused Mr. Mosher’s injury.

                         [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




   38
        Plaintiffs’ Opp. Ex. J.
   39
        Plaintiffs’ Opp. Ex. I p. 2.
                                                    13
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                                            CONCLUSION

          A jury would be required to impermissibly speculate that Mr. Mosher was exposed to

   asbestos from a Buffalo pump and that exposure was a substantial factor in causing his injury. For

   the foregoing reasons, and those set forth in its original motion papers, Buffalo requests that the

   Court enter summary judgment in its favor as to each and every of Plaintiffs’ claims and grant any

   and all other relief as the Court deems just and proper.

                                         Respectfully submitted,


                                         WILBRAHAM, LAWLER & BUBA

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   Dated: September 4, 2019




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